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 1   ANTHONY P. CAPOZZI, CSBN 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, CA 93711
 3   Telephone: (559) 221-0200
     Fax: (559) 221-7997
 4   E-mail: capozzilaw@aol.com

 5   Attorney for Defendant,
     REFUGIO SANTANA
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9
                                         * * * * *
10
11                                                ) Case No.: CR-F-03-5107 AWI
       UNITED STATES OF AMERICA,                  )
12                                                ) STIPULATION FOR CONTINUANCE AND
                     Plaintiff,                   ) ORDER THEREIN
13                                                )
               vs.                                )
14                                                )
       REFUGIO SANTANA,                           )
15                                                )
                     Defendant.                   )
16
17
          IT    IS   HEREBY    STIPULATED    between    the     Defendant,     REFUGIO
18
     SANTANA, by and through his attorney of record, Anthony P. Capozzi,
19
     and Plaintiff, by and through Assistant United States Attorney,
20
     Dawrence Rice, that the Hearing now set for April 20, 2005, at 9:00
21
     a.m. be continued to June 20, 2005 at 9:00 a.m.
22
          This request for continuance is based upon the need of the
23
     medical    doctor    to   perform   additional     tests    to    determine    the
24
     competency of the defendant.
25        It    is   further   stipulated    by   the   parties       that   any   delay
26   resulting from this continuance shall be excluded on the following
27   basis:
28
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 1
                 Title 18, United States Code, Section 3161(h)(1)(A) which
 2
                 states:
 3
                 (h)   The following periods of delay shall be excluded in
 4                     computing the time within which any information or
 5                     an indictment must be filed, or in computing the
 6                     time within which the trial of any such offense
 7                     must commence:
 8                     (1)   Any   period   of    delay    resulting      from    other
 9                           proceedings         concerning       the         defendant,
10                           including but not limited to –
11                           (A)   delay    resulting      from     an    proceeding,
12                                 including any examinations, to determine
13                                 the     mental      competency        or     physical

14                                 capacity of the defendant;

15
16                                               Respectfully submitted,

17   Dated:    April 20, 2005

18
                                                 /s/      Anthony        P.      Capozzi
19
                                                 Anthony P. Capozzi,
20                                               Attorney for Defendant,
                                                 Michael Careatti
21
     Dated:    April 20, 2005
22
23                                               /s/ Dawrence Rice

24                                               Dawrence Rice,
                                                 Assistant U.S. Attorney
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26
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28                                          2
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 1                                       ORDER
 2        Good cause having been shown, the Hearing set for April 20,
 3   2005, is vacated and continued to June 20, 2005 at 9:00 a.m.
 4
     Additionally, time shall be excluded by stipulation from the
 5
     parties and pursuant to 18 USC §3161(h)(1)(A).
 6
 7   IT IS SO ORDERED.
 8
     Dated:   April 20, 2005                  /s/ Anthony W. Ishii
 9   0m8i78                             UNITED STATES DISTRICT JUDGE

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